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lN THE UNITED STATES DISTRICT COURT
FOR THE
SOUTHERN DISTRICT OF FLORIDA

 

 

LISA KOWALSKI, v
a Florida Resident CASE NO.:
Plaintiff,
v. -
JACKSON NATIONAL LIFE
INSURANCE COMPANY,
a Michigan Corporation, and
BARBARA WILSON,
a Pennsylvania Resident,
Defendants.
/
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FIRST CAUSE OF ACTION AGAINST ALL DEFENDANTS
(Reformation)
l. This is an action for money damages in excess of $75,000.00 exclusive of
interest and costs.
2. Jurisdiction of this Court is predicated upon diversity of citizenship, 28

U.S.C. §1332 in that Plaintiff and Defendants are citizens of different states.

3. Venue in this district is proper, pursuant to 28 U.S.C. §1391, as the events
and omissions giving rise to the claims herein occurred in this District. Defendants are
subject to personal jurisdiction herein.

4. Plaintiff, Lisa KoWalski (“KoWalski”) is a resident of the State of Florida.

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5. Defendant, Jackson National Life lnsurance Company (“Jackson”), is a
Michigan corporation that issued a life insurance policy upon the life of a Florida
resident

6. Defendant, Barbara Wilson (“Wilson”), is a resident of Pennsylvania who
may claim an interest in the life insurance policy issued by Jackson.

7. On or about l\/larch 18, 1992 Jackson issued a life insurance policy
#()0195()2390 (“Policy”) upon the life of Florence P. Kowalski (“lnsured”). A true copy
of the Policy is attached hereto as EXhibit “A.” The Owner and Beneticiary of the Policy
at its inception was the lnsured’s son, Edward Kowalski (“Owner”). The Owner was the
husband of Plaintiff Kowalski up until his death.

8. The Owner predeceased the lnsured who died on or about February 4,
2011. The Owner’s Last Will recites “I acknowledge that l own a life insurance policy
insuring the life of my mother, Florence Kowalski, with the beneficiary as my wife, Lisa
Kowalski.” Other than Wilson and Kowalski, there are no potential heirs to the Insured’s
estate.

9. On or about November 7, 2008, the Owner effectuated a change of
ownership from himself to his wife, Plaintiff Kowalski. However, the intent of the Owner
was to effectuate a change of ownership and change of beneficiary to Kowalski.
However, through inadvertence and mutual mistake, only the change of ownership was
effectuated But for this mutual mistake, Kowalski would now be entitled to the Policy’s

death benefit

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lO. After the lnsured died, Kowalski realized for the first time that the OWner
and she had made a mutual mistake in assuming that the change of ownership did not
result in the change of beneficiary

ll. On or about May 12, 2011, Wilson acknowledged the mistake and sent
Jackson a notarized letter renouncing any interest she may have to the death benefits.
Attached hereto as EXhibit “B” is a true copy of Wilson’s letter to Jackson dated May 12,
2011.

12. Despite repeated requests, Jackson refuses to pay the death benefit to
Kowalski. As a result, Kowalski has hired the undersigned and has promised to pay a fee.

13. All conditions precedent have occurred or have been waived.

WHEREFORE, Kowalski prays for an Order reforming the Policy to reflect
Kowalski as the owner and beneficiary and the sole individual entitled to receive the
Policy’s death benefits, for attorney’s fees and costs of litigation pursuant to §627.428,

F.S. and for such other relief as is just and proper.

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